Case 2:03-CV-02337-SHI\/|-STA Document 54 Filed 04/27/05 Page 1 of 2 Page|D 66

UNITED STATES DISTRICT COURT ' ‘
WESTERN DISTRICT OF TENNESSEE _ 7
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Office of the Clerk l __
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Robert R. Dz Tmllr), Clerk ‘={=,)'._l°j. D.PPN`N-,i¢.!£hif?‘gé@
242 Fea'eral Building U.S. Courthrmse, erm 262
167 N. Main Sfreet 111 South HighlandAvem¢e
Memphis, Tennessee 38103 Jackson, Tennessee 38.‘1'01
(9()1) 495-1200 (731) 421-9200

 

N()TICE OF SETTING
Before .Iudge Sanluel H. Mays, Jr., United States District Judge

 

Aer 27, 2005

RE: 03-2337-Ma
Chicago Insurance Co. v. Diversifled Health Services, Inc., et al.
Dear Sir/Madaln:

A STATUS CONFERENCE has been SET before Judge Sanluel H. Mays, Jr. on

FRIDAY, .IUNE 24, 2005 at 10:00 A.M. in Courtroom 2, 11"‘ floor of the Federal Building,
Memphis, Tennessee.

If you have any questions, please contact the ease manager at the number provided below.

Sincerely,
ROBERT R. DI TROLIO, CLERK

an Lee, Case Manager

901-495-1239

Thls document enters
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wlth Hufe 58 and/or 79(a) FF%CP on n empl 5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
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Amy E. Ferguson
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Robert A. McLean

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

1\/1emphis7 TN 38103

.1 effrey A. Goldwater

BOLLINGER RUBERRY & GARVEY
500 West Madison Street

Ste. 2300

Chicago, IL 60661

.1 ohn D. Richardson

THE RICHARDSON LAW FIRM
119 S. Main St.

Ste. 725

1\/1emphis7 TN 38103

Larry Montgomery
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Vincent P. Tomkiewicz

BOLLINGER RUBERRY & GARVEY
500 West Madison Street

Ste. 2300

Chicago, IL 60661

Honorable Samuel Mays
US DISTRICT COURT

